                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE:                                                    :
                                                          :    CHAPTER 7
                                                          :
DIANA M. JOHNSON,                                         :    CASE NO. 5:20-bk-02858-MJC

                                    Debtor.           :
:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::


         PRAECIPE WITHDRAWING TRUSTEE’S APPLICATION TO EMPLOY
                   BK GLOBAL REAL ESTATE SERVICES AND
             ASSET PROPERTY SOLUTIONS REALTY AS REALTORS


TO THE CLERK OF THE BANKRUPTCY COURT:

         The Trustee, Robert P. Sheils, Jr., hereby requests that the Trustee’s Application to

Employ BK Global Real Estate Services and Asset Property Solutions Realty as Realtors in the

above bankruptcy proceeding be withdrawn without prejudice.




Dated: September 15, 2021                             /s/Jill M. Spott
                                                      Jill M. Spott, Esquire
                                                      Attorney for Trustee
                                                      Sheils Law Associates, PC
                                                      108 North Abington Road
                                                      Clarks Summit, PA 18411
                                                      570-587-2600
                                                      570-585-0313 – Facsimile




Case 5:20-bk-02858-MJC              Doc 33 Filed 09/15/21 Entered 09/15/21 11:33:50                            Desc
                                    Main Document     Page 1 of 1
